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lN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT oF TENNESSEE 95 "" 1 f 7 P?? !2: L;.5
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,

`Plaintiff,
VS. NO. 04-20193-1\/13.
MAURICE G]_PSON,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant’s May 16, 2005, motion to continue the sentencing of
Maurice Gipson, which is presently set for May 17, 2005. For good cause shown, the motion is

granted. The sentencing of defendant Maurice Gipson is reset to June 10, 2005 at ll :00 a.m.

M(/M

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

it is 30 oRDERED this 19 Kday ofMay, 2005.

 

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Honorable Samuel Mays
US DISTRICT COURT

